              Case 2:20-cv-01373-TSZ Document 13 Filed 11/09/20 Page 1 of 3




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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
          DALLAS SWANK, et al.,
 8                               Plaintiff,
                                                          C20-1373 TSZ
 9             v.
                                                          MINUTE ORDER
10        DEPUY SYNTHES SALES, INC., et                   SETTING TRIAL DATE AND
          al.,                                            RELATED DATES
11
                                 Defendants.
12

13 JURY TRIAL DATE                                                       April 4, 2022

     Length of Trial                                                          10 days
14
     Deadline for joining additional parties                      September 13, 2021
15
     Deadline for amending pleadings                              September 13, 2021
16
     Disclosure of expert testimony under FRCP 26(a)(2)           September 27, 2021
17
   All motions related to discovery must be filed by                October 11, 2021
18       and noted on the motion calendar
         no later than the third Friday thereafter
19       (see LCR 7(d))

     Expert discovery completed by                                  October 29, 2021
20
   All dispositive motions must be filed by                       November 30, 2021
21        and noted on the motion calendar
          no later than the fourth Friday thereafter
22        (see LCR 7(d))
23

     MINUTE ORDER - 1
              Case 2:20-cv-01373-TSZ Document 13 Filed 11/09/20 Page 2 of 3




 1 Discovery completed by                                              December 13, 2021

 2 All motions related to expert witnesses
   (e.g., Daubert motion) must be filed by                                January 20, 2022
 3         and noted on the motion calendar no later
           than the third Friday thereafter (see LCR 7(d))
 4
   All motions in limine must be filed by                                   March 3, 2022
 5         and noted on the motion calendar no later
           than the Friday before the Pretrial Conference
 6         (see LCR 7(d)(4))

     Agreed Pretrial Order due 1                                           March 18, 2022
 7
     Trial briefs, proposed voir dire questions and
 8          jury instructions due                                          March 18, 2022

 9 Pretrial Conference to be held at 1:30 p.m. on                          March 25, 2022

10        These dates are set at the direction of the Court after reviewing the joint status
   report and discovery plan submitted by the parties. All other dates are specified in the
11 Local Civil Rules. If any of the dates identified in this Order or the Local Civil Rules fall
   on a weekend or federal holiday, the act or event shall be performed on the next business
12 day. These are firm dates that can be changed only by order of the Court, not by
   agreement of counsel or parties. The Court will alter these dates only upon good cause
13 shown: failure to complete discovery within the time allowed is not recognized as good
   cause.
14
          As required by LCR 37(a), all discovery matters are to be resolved by agreement if
15 possible. Counsel are further directed to cooperate in preparing the final pretrial order in
   the format required by LCR 16.1.
16        Notwithstanding Local Civil Rule 16.1, the exhibit list shall be prepared in table
   format with the following columns: “Exhibit Number,” “Description,” “Admissibility
17 Stipulated,” “Authenticity Stipulated/Admissibility Disputed,” “Authenticity Disputed,”
   and “Admitted.” The latter column is for the Clerk’s convenience and shall remain
18 blank, but the parties shall indicate the status of an exhibit’s authenticity and
   admissibility by placing an “X” in the appropriate column. Duplicate documents shall
19 not be listed twice: once a party has identified an exhibit in the pretrial order, any party
   may use it.
20

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22    The Agreed Pretrial Order shall be filed in CM/ECF and shall also be attached as a Word
     compatible file to an e-mail sent to the following address: ZillyOrders@wawd.uscourts.gov.
23

     SETTING TRIAL DATE AND RELATED DATES - 2
              Case 2:20-cv-01373-TSZ Document 13 Filed 11/09/20 Page 3 of 3




 1           The original and one copy of the trial exhibits are to be delivered to the courtroom
     at a time coordinated with Gail Glass, who can be reached at 206-370-8522, no later than
 2   the Friday before trial. Each set of exhibits shall be submitted in a three-ring binder with
     appropriately numbered tabs. Each exhibit shall be clearly marked. Plaintiff’s exhibits
 3   shall be numbered consecutively beginning with 1; defendant’s exhibits shall be
     numbered consecutively beginning with the next multiple of 100 after plaintiff’s last
 4   exhibit; any other party’s exhibits shall be numbered consecutively beginning with the
     next multiple of 100 after defendant’s last exhibit. For example, if plaintiff’s last exhibit
 5   is numbered 159, then defendant’s exhibits shall begin with the number 200; if
     defendant’s last exhibit number is 321, then any other party’s exhibits shall begin with
 6   the number 400.

 7         Counsel must be prepared to begin trial on the date scheduled, but it should be
     understood that the trial might have to await the completion of other cases.
 8
          Should this case settle, counsel shall notify Judge Zilly’s Chambers at
 9 (206) 370-8830 as soon as possible.
            A copy of this Minute Order shall be mailed to all counsel of record.
10
            Dated this 9th day of November, 2020.
11

12                                                     William M. McCool
                                                       Clerk
13
                                                       s/Gail Glass
14                                                     Deputy Clerk

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     SETTING TRIAL DATE AND RELATED DATES - 3
